    Case 1:21-cr-00371-BMC-TAM Document 384 Filed 10/31/22 Page 1 of 3 PageID #: 9665




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        October 31, 2022

        VIA ECF

        The Honorable Brian M. Cogan
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

        Re: United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al., 1:2l-cr-371 (BMC) (S-1)

        Dear Judge Cogan:

               Further to the discussion in court on October 31, 2022, Mr. Barrack writes briefly to
        respond to the Government’s letter, dated October 30, 2022, see Dkt. 382.

                 Obstruction of Justice Instruction

                In its letter of October 30, 2022, the Government argues that it is now pursuing a theory
        of “obstruction” in which Mr. Barrack “scheduled [his] voluntary interview” on June 20, 2019
        and “made false statements to stop or stall the gathering of other information (such as testimony
        and documents held by his already subpoenaed associates) by the grand jury.” See Dkt. 382 at 2.
        According to the Government, the Court should instruct the jury that it can find that Mr. Barrack
        acted “corruptly” if the jury finds that “the defendant knew that the agents and prosecutors he
        was speaking with on June 20, 2019 would act on his statements in such a way as to obstruct the
        grand jury proceeding.” See Dkt. 382 at 4. Beyond the fact that the Government’s proposed
        language will be completely unintelligible to the jury—what does it mean for the “agents” to “act
        on” Mr. Barrack’s statements so as to “obstruct” a grand jury proceeding?—the proposed
        instruction should not be given because the Government has failed to establish a factual or legal
        predicate for this addition.

                The Government contends that “testimony at trial establishes that Barrack was aware of
        an ongoing grand jury investigation, that the investigation had active [sic], and that his close
        associates had been served with subpoenas,” and, continues the Government, “evidence
        establishes that Barrack requested this interview with that knowledge, after those associates had
        been served, and then made false statements to law enforcement and federal prosecutors who
        advised they were running the grand jury investigation.” Dkt. 382 at 3. Tellingly, the
        Government includes no transcript or exhibit cites in support of this purported “evidence in the
        record.” The Court should require the Government to identify the evidence it is claiming exists
        before it considers giving any such instruction.




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Case 1:21-cr-00371-BMC-TAM Document 384 Filed 10/31/22 Page 2 of 3 PageID #: 9666




           In fact, there is zero evidence in the record demonstrating that Mr. Barrack was aware of
  grand jury subpoenas being issued to his “associates” prior to scheduling his June 20, 2019
  interview with the FBI. The Government established that Brady Cassis, and other attorneys at
  Paul Hastings LLP, knew that grand jury subpoenas had been issued to Mr. Barrack’s associates
  (because they also represented those individuals), see Tr. at 3880-81, but the Government never
  asked Mr. Cassis if that information was conveyed to Mr. Barrack and the Government otherwise
  introduced no evidence to show that such information was known to Mr. Barrack. Moreover,
  despite hours of cross-examination, the Government never even posed the question to Mr.
  Barrack about whether he was aware that associates of his had received grand jury subpoenas
  prior to scheduling his June 20, 2019 interview. United States v. Mulheren, 938 F.2d 364, 369
  (2d Cir. 1991) (reversing conviction where “the greatest puzzle in th[e] record is why th[e]
  critical question was never directly put to” the witness by the Government). If the Government
  was so certain that Mr. Barrack had the knowledge that they claim he had, they should have
  asked him that question while he was on the stand, under oath.1 Because the factual predicate
  that the Government relies on does not actually exist in the trial record, the Government’s
  proposed instruction should not be given.

           Second, there is no legal predicate for the instruction sought by the Government. The
  Government does not point to any case involving a Section 1512(c)(2) offense where their
  proposed instruction was given. Further, the cases cited by the Government are entirely
  inapposite. United States v. Desposito, 704 F.3d 221 (2d Cir. 2013) involved a defendant who,
  from jail, while he was awaiting trial, mailed letters to his friends asking them to plant evidence
  with other people’s fingerprints on it in the hope that the planted evidence would raise a
  “reasonable doubt.” See id. at 224. The Second Circuit explained that because the “natural and
  probable consequence” of the defendant’s letters was that the defendant’s friend “would create
  false evidence that would obstruct [the defendant’s] criminal trial,” the Government had
  adequately proven a “nexus” between the defendant’s conduct and the obstruction of justice.
  Desposito offers no insight into Mr. Barrack’s case, nor does it support the vague and confusing
  instruction that the Government has asked the Court to give. United States v. Quattrone is
  equally unavailing. 441 F.3d 153, 167 (2d. 2006). Quattrone involved “trial evidence” which
  “clearly established that [the defendant] was aware of [ ] SEC and grand jury investigations” and
  thereafter sent an email to his subordinates instructing them to destroy evidence that would have
  been responsive to the grand jury’s subpoenas. Id. There is nothing like that in the trial record
  in this case and Quattrone does not support the vague and confusing instruction that the
  Government has asked the Court to give.



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    As for the Government’s claim that Mr. Barrack was informed during the June 20, 2019
  interview that there was a grand jury investigation pending in the Eastern District, the record
  viewed as a whole does not support this contention. While Agent Mergen claimed that such a
  warning was given at the start of the interview, see Tr. 2692 -2693, neither Agent Chui’s notes,
  the Government’s FD-302, or Mr. Cassis’s notes reflect that any such statement was made. See
  Tr. 2692-93 (explaining that neither the FBI’s notes or its FD-302 reflect any advisement to Mr.
  Barrack regarding the existence of a grand jury investigation in the Eastern District); see also
  BX1700 (Mr. Cassis’s notes of interview). Further, Mr. Cassis confirmed that he did not have a
  recollection of anything like that being said during the interview. See Tr. at 3800-3802.

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Case 1:21-cr-00371-BMC-TAM Document 384 Filed 10/31/22 Page 3 of 3 PageID #: 9667




          Moreover, the Government’s claim that this “second theory” of obstruction allows it to
  circumvent the Supreme Court’s holding in United States v. Aguilar, 515 U.S. 593, 599-601
  (1995) is baseless. If this alternative “theory” of obstruction was legitimate, it would have been
  utilized in United States v. Schwartz, 283 F.3d 76, 107-110 (2d. Cir. 2002), where the defendant
  reached out to the Government for a voluntary interview after being sent a grand jury subpoena
  for documents. This theory wasn’t utilized in Schwartz because it has no basis in law; to the
  contrary, the Supreme Court has made clear that when the Government charges an individual
  with obstructing a grand jury investigation through false statements made to Government agents,
  the Government must prove that the defendant knew that the agent he was speaking with would
  convey his statements to the grand jury. Aguilar, 515 U.S. at 599-601 (although defendant knew
  of pending grand jury investigation at time of FBI interview, because interviewing FBI agent
  “might or might not testify before a grand jury,” “no rational trier of fact” could conclude that
  the defendant’s false statements during the interview could “be said to have the natural and
  probable effect” of obstructing the grand jury proceeding and thus, the defendant could not be
  found guilty of obstructing grand jury proceeding). Aguilar articulates the burden that the
  Government must satisfy here, as the Court’s instruction already properly explains.

          Mr. Barrack respectfully requests that the Court keep its Obstruction of Justice
  instruction as it was drafted by the Court on October 30, 2022.

  Respectfully submitted,

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